IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: January 16, 2019.

                                   __________________________________
                                          H. CHRISTOPHER MOTT
                                   UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________
                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 18-10554-hcm
Maureen L Adair                                                                                            Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-1                  User: wallacea                     Page 1 of 1                          Date Rcvd: Jan 16, 2019
                                      Form ID: pdfintp                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 18, 2019.
db             +Maureen L Adair,   2524 Spring Lane,   Austin, TX 78703-1743

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 18, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 16, 2019 at the address(es) listed below:
              Deborah A. Bynum   on behalf of U.S. Trustee    United States Trustee - AU12
               deborah.a.bynum@usdoj.gov
              H. Gray Burks, IV   on behalf of Creditor    Select Portfolio Servicing, Inc. gburks@logs.com,
               nibates@logs.com
              Kay D. Brock   on behalf of Creditor   Travis County bkecf@traviscountytx.gov,
               kay.brock@traviscountytx.gov
              Kirk A. Schwartz   on behalf of Creditor   Select Portfolio Servicing, Inc. kschwartz@logs.com,
               txbkwestern@logs.com
              Stephen W. Sather   on behalf of Debtor Maureen L Adair ssather@bn-lawyers.com,
               gmagnuson@bn-lawyers.com;bbarron@bn-lawyers.com;kelliott@bn-lawyers.com
              United States Trustee - AU12   ustpregion07.au.ecf@usdoj.gov
                                                                                             TOTAL: 6
